
44 So.2d 616 (1950)
CITY OF BIRMINGHAM
v.
Emily REED.
6 Div. 979.
Supreme Court of Alabama.
February 9, 1950.
Rehearing Denied March 9, 1950.
Geo. E. Trawick, of Birmingham, for petitioner.
Chas. H. Brown and J. M. Breckenridge, of Birmingham, opposed.
LIVINGSTON, Justice.
Petition of Emily Reed for certiorari to the Court of Appeals to review and revise the judgment and decision of that Court in the case of City of Birmingham v. Reed, Ala.App., 44 So.2d 615.
The petition is denied upon authority of City of Birmingham v. Reed, Ala.Sup., 44 So.2d 614.
Writ denied.
FOSTER, SIMPSON and STAKELY, JJ., concur.
